
627 So.2d 124 (1993)
DEPARTMENT OF HhEALTH AND REHABILITATIVE SERVICES, Appellant,
v.
Diane ORTIZ et al., Appellees.
No. 93-212.
District Court of Appeal of Florida, Fifth District.
December 3, 1993.
Wayne Starr, Orlando, for appellant.
No appearance for appellees.
PER CURIAM.
The Department of Health and Rehabilitative Services (HRS) appeals the order requiring it to pay the cost of a psychological evaluation of the mother of an infant who was alleged to be dependent. We reverse.
In the absence of legislative authorization, the State cannot be held financially responsible unless the recipient of the service can show a constitutional right to the service. In Interest of J.W., 591 So.2d 1048 (Fla. 1st DCA 1991); In Interest of N.W., R.W., R.W. and R.W., 506 So.2d 80 (Fla. 1st DCA 1987). In this case, there is no legislative authority requiring or authorizing HRS to pay for such services and the mother failed to demonstrate a constitutional right to the services, see In Interest of D.B. and D.S, 385 So.2d 83 (Fla. 1980), and thus it was error for the trial *125 court to order HRS responsible for payment for the evaluation.
REVERSED.
W. SHARP, GOSHORN and THOMPSON, JJ., concur.
